                    IN THE SUPREME COURT OF NORTH CAROLINA

                                            2021-NCSC-155

                                              No. 99A21

                                     Filed 17 December 2021

      IN THE MATTER OF: R.G.L.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from order entered on 23

     November 2020 by Judge Benjamin S. Hunter in District Court, Person County. This

     matter was calendared for argument in the Supreme Court on 13 December 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           Thomas L. Fitzgerald for petitioner-appellee Person County Department of
           Social Services; and Matthew D. Wunsche for appellee Guardian ad Litem.

           Wendy C. Sotolongo, Parent Defender, by J. Lee Gilliam, Assistant Parent
           Defender, for respondent-appellant father.


           EARLS, Justice.

¶1         Respondent appeals from the trial court’s order terminating his parental rights

     in the minor child “Robert.”1 We affirm.

                                       I.     Background

¶2         On 29 August 2018, the Person County Department of Social Services (DSS)

     filed a petition alleging that three-year-old Robert was neglected. The juvenile



           1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading.
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     petition stated that a child protective services (CPS) report was filed on 14 May 2018

     alleging improper supervision, injurious environment, and substance abuse after

     Robert wandered away from the house while respondent was sleeping and a neighbor

     called 911. Respondent and Robert’s mother completed requested drug screens on

     15 May 2018. Respondent’s screens were positive for amphetamines and oxycodone,

     which he was prescribed, and oxymorphone. He admitted to running out of

     medication sooner than expected because his use exceeded the prescribed amount.

     The mother’s screens were positive for amphetamines, oxycodone, oxapam,

     oxymorphone, and marijuana metabolite; moreover, she admitted to using

     marijuana, Percocet, Adderall, and Valium. The CPS report was substantiated and

     transferred to in-home services on 27 June 2018.

¶3         The juvenile petition further alleged that DSS’s efforts to engage the family

     and ensure Robert’s safety were unsuccessful, and that a second CPS report was filed

     on 27 August 2018 for physical injury after the mother was charged with driving

     while impaired (DWI) on 19 July 2018 while Robert was in the vehicle. The mother

     admitted that the DWI charge was the result of her taking suboxone before driving.

     On 28 August 2018, DSS completed a home visit and found the premises to be in

     disarray. When the family was unable to identify an alternate safety provider, DSS

     filed the juvenile petition and obtained nonsecure custody of Robert.

¶4         Following a hearing on the juvenile petition on 11 September 2018, the trial
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     court entered an order on 25 September 2018 adjudicating Robert to be a neglected

     juvenile. The trial court found that the conditions in the home as alleged in the

     petition led to or contributed to the adjudication. The court ordered that Robert

     remain in DSS custody and that DSS develop and implement a visitation plan

     providing for at least one hour of weekly supervised visitation between Robert and

     his parents. The court further ordered both parents to submit to random drug screens

     within two hours of requests to do so and to keep DSS informed of any change of

     address.

¶5         The matter came on for an initial review hearing on 17 December 2018. In the

     order entered following the hearing, the trial court found that the parents attended

     an initial child and family team (CFT) meeting to develop their respective case plans

     on 27 September 2018. Respondent’s needs were identified to include employment,

     parenting skills, substance use, mental health, medical care, and housing. The court

     further found that respondent was no longer employed as of 23 November 2018; that

     he completed a mental health assessment in August 2018 that recommended

     outpatient therapy and a psychiatric evaluation for possible medication management,

     but he was a “no[-]show” for psychiatric evaluations in September and December

     2018; and that the location of the parents’ residence was unknown. The court

     identified the barriers to reunification as the needs identified in the case plan and

     found that DSS had made recommendations focused on the needs of the parents to
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     assist the parents in their stated goal of reunification. The court ordered DSS to

     retain custody of Robert and to maintain a visitation plan allowing the parents at

     least one hour of weekly supervised visitation and ordered the parents to comply with

     their case plans, follow recommendations of treatment providers, and submit to

     random drug screens within two hours of requests.

¶6         Following a 26 August 2019 permanency-planning hearing, the trial court

     entered an order setting the permanent plan for Robert as reunification with a

     concurrent plan of adoption. The court found that the parents had obtained

     employment and had made a down payment on a trailer in June 2019. The court

     noted the parents were working second and third shifts and had not developed a

     viable plan for childcare, and they did not have drivers’ licenses and could not legally

     transport Robert. The parents’ new trailer was found to be clean, neat, and modern,

     and to have ample space. The court additionally found that respondent attended

     weekly visitations but was consistently late, fell asleep during most visits, and was

     not always engaged with Robert during the visits; that respondent had “finally

     relented” after several months of requests that he seek medical care for sleep apnea,

     but no report of results had been made; and that the parents reported having had

     “excellent rapport” with Robert’s foster parents and they were “able to eat lunch with

     [Robert] sometimes and engage him at the church where the foster parents attend.”

     The court ordered DSS to continue the plan of at least one hour of weekly supervised
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     visitation with additional visitation as arranged with the foster parents and ordered

     the parents to develop and present transportation and childcare plans to DSS.

¶7         The matter came back on for a permanency-planning hearing on 2 December

     2019. The trial court found that the parents were struggling to achieve the needed

     goals. The findings show that both parents had lost their jobs, that respondent

     reported new employment that had not been verified, and that the parents had not

     presented suitable transportation or childcare plans to DSS. Respondent attributed

     his inability to stay awake to his sleep apnea, but he had not sought the requested

     medical care to address the issue despite DSS’s referral to a neurologist for a sleep

     study. The court also found that individuals who resided with the parents when

     Robert was removed from the parents’ care were still living with the parents, and

     that DSS was not able to enter the home during the most recent home visit because

     the parents were asleep and someone else answered the door. The trial court changed

     the permanent plan for Robert to adoption with a concurrent plan of reunification

     and reduced the parents’ visitation to biweekly supervised visits.

¶8         On 5 February 2020, DSS filed a motion to terminate the parents’ parental

     rights in Robert based on grounds of neglect and willful failure to make reasonable

     progress to correct the conditions that led to Robert’s removal from the home. See

     N.C.G.S. § 7B-1111(a)(1), (2) (2019). Respondent filed an answer opposing

     termination on 12 May 2020.
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¶9           Before the termination hearing occurred, the matter came back on for two

       additional permanency planning hearings on 6 July 2020 and 5 October 2020. The

       updated findings from the 6 July 2020 hearing were unfavorable to the parents. The

       trial court found that both parents reported unemployment. The court also found that

       the parents had acquired rental housing different from the trailer they were

       previously living in; that individuals with extensive criminal and child protective

       services histories were residing with the parents; and that DSS was advised that the

       parents “are under eviction status” because of their failure to pay rent since March

       2020. The court reduced the parents’ visitation to at least one hour of supervised

       visitation per month. Following the 5 October 2020 hearing, the court found that the

       parents resided in separate locations, but their accommodations were not stable; the

       parents reported unemployment; neither parent had visited Robert recently; and

       neither parent was compliant with the terms of their respective case plans.

¶ 10         The termination motion was heard on 9 November 2020. In an order entered

       on 23 November 2020, the trial court determined that grounds existed to terminate

       the parents’ parental rights pursuant to N.C.G.S. § 7B-1111(a)(1) and (2) and that

       termination of the parents’ parental rights was in Robert’s best interests.

       Accordingly, the trial court terminated the parents’ parental rights in Robert.

       Respondent appeals.2


             2 Robert’s mother is not a party to this appeal.
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                                         II.     Analysis

¶ 11         Termination of parental rights proceedings are conducted in two stages, an

       adjudicatory stage and a dispositional stage. N.C.G.S. §§ 7B-1109, -1110 (2019).

                    In the initial adjudicat[ory] stage, the trial court must
                    determine whether grounds exist pursuant to N.C.G.S. §
                    7B-1111 to terminate parental rights. If it determines that
                    one or more grounds listed in section 7B-1111 are present,
                    the court proceeds to the dispositional stage, at which the
                    court must consider whether it is in the best interests of
                    the juvenile to terminate parental rights.

       In re D.L.W., 368 N.C. 835, 842 (2016) (cleaned up). In his appeal, respondent

       challenges the trial court’s determinations that grounds existed to terminate his

       parental rights in Robert at the adjudicatory stage and that termination was in

       Robert’s best interests at the dispositional stage.

       A. Adjudication

¶ 12         At the adjudicatory stage, the petitioner bears the burden of proving the

       existence of one or more grounds for termination under N.C.G.S. § 7B-1111(a) by

       “clear, cogent, and convincing evidence.” N.C.G.S. § 7B-1109(e), (f) (2019). We review

       a trial court’s adjudication of the existence of grounds to terminate parental rights

       “to determine whether the findings are supported by clear, cogent and convincing

       evidence and the findings support the conclusions of law.” In re E.H.P., 372 N.C. 388,

       392 (2019) (quoting In re Montgomery, 311 N.C. 101, 111 (1984)). “A trial court’s

       finding of fact that is supported by clear, cogent, and convincing evidence is deemed
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       conclusive even if the record contains evidence that would support a contrary

       finding.” In re B.O.A., 372 N.C. 372, 379 (2019) (citing In re Moore, 306 N.C. 394, 403–

       04 (1982)). Unchallenged findings are deemed to be supported by the evidence and

       are binding on appeal. In re Z.L.W., 372 N.C. 432, 437 (2019) (citing Koufman v.

       Koufman, 330 N.C. 93, 97 (1991)). “The trial court’s conclusions of law are reviewable

       de novo on appeal.” In re C.B.C., 373 N.C. 16, 19 (2019) (citing In re S.N., 194 N.C.

       App. 142, 146 (2008), aff’d per curiam, 363 N.C. 368 (2009)).

          1. Findings of fact

¶ 13         In contesting the trial court’s adjudication of grounds for termination,

       respondent raises challenges to the trial court’s findings of fact. He first contends that

       the trial court failed to issue proper and sufficient findings of fact. Respondent argues

       that “[m]any” of the trial court’s findings are “verbatim recitations from the

       allegations in the termination motion” and that most of the findings are “conclusory”

       and not sufficiently detailed to permit appellate review. We disagree.

¶ 14         As we have previously explained:

                           Our Juvenile Code places a duty on the trial court as
                    the adjudicator of the evidence. It mandates that the court
                    shall take evidence, find the facts, and shall adjudicate the
                    existence or nonexistence of any of the circumstances set
                    forth in G.S. 7B-1111 which authorize the termination of
                    parental rights of the respondent. Section 1A-1, Rule
                    52(a)(1) of the North Carolina General Statutes provides in
                    pertinent part: In all actions tried upon the facts without a
                    jury the court shall find the facts specially and state
                    separately its conclusions of law. This Court has held:
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                    While Rule 52(a) does not require a recitation of the
                    evidentiary and subsidiary facts required to prove the
                    ultimate facts, it does require specific findings of the
                    ultimate facts established by the evidence, admissions and
                    stipulations which are determinative of the questions
                    involved in the action and essential to support the
                    conclusions of law reached.

       In re T.N.H., 372 N.C. 403, 407–08 (2019) (cleaned up).

¶ 15         In the instant case, the trial court determined that grounds existed to

       terminate respondent’s parental rights to Robert pursuant to N.C.G.S. § 7B-

       1111(a)(1) and (2) as follows:

                           41. . . . [T]he child is a neglected juvenile and there
                    is a probability of neglect will continue for the forseeable
                    [sic] future pursuant to the statute because the
                    [respondent-]father has not addressed the issues that
                    brought the child into care;

                           ....

                           43. The [r]espondent[-]father has left his child in
                    foster care for in excess of twelve months without showing
                    to the satisfaction of the [c]ourt that reasonable progress
                    under the circumstances has been made in correcting those
                    conditions which led to the removal of the juvenile . . . .

       In support of its determination that the statutory grounds existed to terminate

       respondent’s parental rights, the court made the following findings:

                           13. The parents failed to properly supervise their
                    child and custody was granted to Person County DSS on
                    September 11, 2018; the parents[‘] excessive and continued
                    usage of controlled substances contributed to their lack of
                    proper care and supervision of the child;

                           14. On September 11, 2018, Person County DSS was
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granted custody of this child, and after the parents lost
custody, DSS offered services to them to work towards
recovering custody of their child;

      ....

      23. The father has not availed himself of any services
of DSS social workers to potentially take custody of his
minor child;

       24. The father has not fully utilized the services
offered by DSS;

     25. The father has not been willing to work with the
DSS social workers to reunify himself with his child;

      26. Visitation was offered weekly to the father;

      27. That the father’s contact with the minor child
has been limited to visitations for more than two years;

      28. That the father has not provided regular care for
his minor child for in excess of two years;

     29. The father has not consistently taken steps to
become clean and sober;

     30. The father has not consistently taken steps to
become and remain employed;

      31. That the father has not provided any personal
care or emotional support for this child during the entire
period that the child has been in foster care;

       32. That the parents have not attempted to create a
bond between themselves and [Robert] since the child came
into foster care;

       33. DSS entered into a case plan with the parents,
showing steps necessary for them to recover custody of
their child;
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                           34. The foster care social worker offered services to
                    the [r]espondent parents to achieve such steps, as well as
                    the goal of reunification;

                          ....

                           36. The [r]espondent[-]father declined services as
                    late as December 2, 2019;

                           37. That the [r]espondent parents have left this child
                    in foster care for in excess of twenty-five (25) months
                    without showing to the satisfaction of the [c]ourt that
                    reasonable progress under the circumstances has been
                    made in correcting those conditions which led to the
                    removal of the juvenile . . . ;

                          38. That the actions of each of the [r]espondent
                    parents are willful;

                          39. That the willfulness of each of the [r]espondent
                    parents continues at this time.

¶ 16         Although the findings closely track the allegations in the termination motion,

       there are differences between the findings and the allegations, such as the lengths of

       time and distinctions between parents, that show the trial court did not merely copy

       the allegations from the termination motion. The modifications indicate the trial

       court independently reviewed and judged the evidence and issued findings based

       thereon. Moreover, the findings clearly set forth the trial court’s reasoning for its

       adjudication of grounds to terminate respondent’s parental rights based on his failure

       to engage in services offered by DSS, which resulted in the issues leading to Robert’s

       removal and adjudication going uncorrected. We reject respondent’s arguments that

       the trial court failed to issue proper and specific findings to allow for meaningful
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       appellate review.

¶ 17         In addition to his general challenges to the findings, respondent challenges

       specific findings as not supported by the evidence.

¶ 18         Respondent first challenges finding of fact 13, which states that “[t]he parents

       failed to properly supervise their child” and “the parents[’] excessive and continued

       usage of controlled substances contributed to their lack of proper care and supervision

       of the child.” Respondent contends the finding is not supported by clear and

       convincing evidence to the extent it indicates he was responsible in any way for

       Robert’s removal and adjudication. Relying on a finding in the first review order that

       “[Robert] was initially removed due to the actions of his mother,” a finding which was

       subsequently repeated in succeeding permanency-planning orders, respondent places

       the blame for Robert’s removal solely on the mother. However, record evidence

       supports the trial court’s finding that both parents contributed to Robert’s removal

       and subsequent adjudication. The DSS social worker testified at the termination

       hearing about DSS’s intervention with the family in May 2018 when DSS received a

       CPS report alleging improper supervision, injurious environment, and substance

       abuse after three-year-old Robert wandered from the home alone while respondent

       was asleep. The social worker’s testimony indicated substance abuse concerns for

       both parents. DSS substantiated the report and began offering in-home services in

       June 2018, but efforts to engage the family to ensure Robert’s safety were
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       unsuccessful. Respondent acknowledges the social worker’s testimony but discounts

       it on grounds that the record does not indicate the social worker was involved in

       Robert’s removal, and that the social worker testified she could not remember if she

       attended the adjudication hearing. Nonetheless, the social worker testified that she

       had followed the case “[s]ince August of 2018,” and the 25 September 2018

       adjudication and disposition order was also introduced into evidence at the

       termination hearing without objection. In that order, the court found the “activities

       of the parents and/or conditions in the home of the parents [that] led to or contributed

       to the adjudication, and led to the [c]ourt’s decision to remove custody from the

       parents,” included: a CPS report that was accepted for improper supervision,

       injurious environment, and substance abuse on 14 May 2018 after Robert left the

       house while respondent was sleeping and a neighbor called 911; respondent’s

       admission that household members had a history of cocaine use; respondent’s positive

       test for prescribed and unprescribed controlled substances on 15 May 2018 and his

       admission to use exceeding the prescribed amount of his medications; and, after a

       second CPS report was accepted on 27 August 2018 following the mother’s being

       charged with a DWI while Robert was in the car, a DSS home visit on 28 August 2018

       which found the home to be in disarray. The record evidence supports finding of fact

       13.

¶ 19         Respondent also challenges the trial court’s findings that he did not participate
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       in services offered by DSS. Specifically, he challenges finding of fact 34, that the social

       worker offered services to help him achieve the goals of his case plan, and findings of

       fact 23 through 25, that he did not avail himself of the services offered and was

       unwilling to work with DSS. He also challenges the trial court’s more specific findings

       in finding of fact 29 that he did not consistently take steps to become clean and sober

       and in finding of fact 30 that he did not consistently take steps to become and remain

       employed, and that he declined services as late as 2 December 2019 as stated in

       finding of fact 36.3

¶ 20          In unchallenged finding of fact 33, the trial court found that “DSS entered into

       a case plan with the parents, showing steps necessary for them to recover custody of

       their child.” A report on the case plan and the parents’ compliance and progress

       throughout the case was admitted into evidence at the termination hearing without

       objection, and the social worker offered testimony about the case plan and the

       parents’ progress. The evidence shows the case plan included categories specifying

       steps the parents should take to address housing, employment, substance abuse,

       emotional and mental health, and parenting skills, with an additional requirement

       that respondent follow up with medical care for sleep issues. Respondent

       acknowledges DSS offered some services, but he contends that the reunification



              3 Respondent identifies the challenged finding as finding of fact 35; however, finding

       of fact 35 concerns the mother’s choosing to decline services. Finding of fact 36 addresses
       respondent’s choosing to decline services.
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       services were not significant, that there were few details in the evidence about the

       services offered and his ability to participate in the services, and that DSS made

       minimal efforts towards reunification. He asserts finding of fact 34 is not supported

       by the evidence. We are unpersuaded by respondent’s arguments.

¶ 21         We first note that respondent has not specifically challenged finding of fact 14,

       which also found that “DSS offered services to [the parents] to work towards

       recovering custody of their child.” This finding is therefore binding on appeal. See In

       re Z.L.W., 372 N.C. at 437. Nonetheless, a review of the evidence shows that the case

       plan was developed in September 2018 and that DSS: (1) initially made referrals for

       comprehensive substance abuse treatment and a “Parents As Teachers” (PAT)

       program to address parenting skills; (2) requested random drug screens; and

       (3) established supervised visits between the parents and Robert. The case plan

       progress report indicates that DSS later provided the parents with a housing list to

       assist in their housing search. The evidence further shows that DSS staff met with

       the parents approximately every three months to review the case plan and to address

       additional concerns with the parents, which included their need for counseling,

       changes to their work schedules, and a plan of care for Robert. The social worker

       testified that she worked with the parents and local daycares to try to ameliorate

       problems with the parents’ work schedules which impeded their ability to provide all

       necessary care for Robert, but no resolution was achieved. The evidence also indicates
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       that after respondent did not address his continued sleep issues at a medical

       appointment, the social worker contacted the respondent’s doctor to get a neurology

       referral for a sleep study. The record evidence supports finding of fact 34 that services

       were offered to the respondent.

¶ 22         As to findings of fact 23 through 25 regarding respondent’s engagement with

       services and DSS, respondent argues he was willing to work towards reunification

       and did work towards reunification. He emphasizes evidence of his efforts early in

       the case but also acknowledges evidence of his waning participation later on.

       Nevertheless, he contends the evidence does not support “the broad, conclusory

       finding that [he] would not work with DSS.” Respondent accurately recounts the

       evidence. Notably, the social worker testified that both parents got off to a good start

       and made great progress in 2019, but that things took a turn for the worse between

       October and December of 2019.

¶ 23         Evidence was presented that respondent completed mental health and

       substance abuse assessments, which recommended individual therapy, group

       therapy, and a psychiatric appointment for possible medication management. In the

       case plan progress report for December 2018, DSS reported that respondent was

       scheduled to begin group therapy, have a psychiatric evaluation, and start the PAT

       program. By March 2019, DSS reported respondent was employed and would be

       working full-time in April; in addition, he was looking for housing, attending
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       medication management, and visiting with Robert, although issues with tardiness for

       visits were reported. Respondent was directed to follow up with individual therapy.

       By June 2019, the parents had made a down payment on a place to live and were to

       move in by the end of the month, and DSS reported no recent concerns with substance

       abuse. The case plan progress report indicated respondent was participating in

       medication management and the PAT program. Respondent’s progress appeared to

       continue through September 2019, but DSS reported the parents were consistently

       late for visits and respondent failed to disclose his continued sleep issues to his doctor.

       The social worker testified that she completed a home visit and determined the

       parents’ trailer was appropriate and had space for Robert, but that the parents lost

       the trailer by the end of 2019. DSS reported that by December 2019, the parents were

       not involved in substance abuse treatment or services for emotional and mental

       health, were no longer in the PAT program, and were consistently late for visits, and

       respondent had not followed up on his medical issues.

¶ 24         The record shows that the primary permanent plan for Robert was changed to

       adoption in December 2019. Since that time, DSS reported missed visits and

       respondent’s failure to engage at visits. Evidence showed that the parents were no-

       shows for a requested drug screen on 3 June 2020 and that DSS reported no contact

       with the parents in the periods between DSS’s reviews of the case plan in March,

       June, and September 2020. The social worker testified respondent cancelled his first
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       neurology appointment but later reported that he had a video appointment; however,

       the social worker had been unable to verify this information. The social worker also

       testified regarding the circumstances as of the last permanency planning hearing in

       October 2020, approximately one month before the termination hearing. She stated

       the parents made minimal progress during the review period. She testified the

       parents had not established a residence for Robert to return to and had last reported

       to be living apart. She also testified that unemployment was reported in October

       2020, and the parents had not been consistent with visitation at DSS. A visitation log

       introduced into evidence showed that the parents did not respond to DSS’s attempts

       to schedule visits in July and August 2020. The social worker was unaware of further

       substance abuse treatment or emotional and mental health treatment by respondent

       in the months leading up to the termination hearing because he had not reported any

       treatment in the past year. She testified the parents had not been keeping in regular

       contact with DSS, explaining that “sometimes their voicemail is not set up and you

       can’t leave a message,” or “[w]e may leave a message and may not hear back from

       them.” The social worker testified that the needs and problems that existed at the

       initiation of the case still existed for respondent.

¶ 25         Based on the above, we agree with respondent that the evidence does not

       support finding of fact 23 that he “has not availed himself of any services.” We thus

       disregard that finding. See In re L.H., 378 N.C. 625, 2021-NCSC-110, ¶ 14 (citing In
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       re J.M., 373 N.C. 352, 358 (2020) (disregarding factual findings not supported by the

       evidence)). But the evidence of respondent’s waning engagement and progress since

       late 2019 and his lack of contact with DSS throughout 2020 supports findings of fact

       24 and 25 that respondent “has not fully utilized the services offered” and “has not

       been willing to work with the DSS social workers.”

¶ 26         In regards to the trial court’s more specific findings, respondent contends that

       the trial court’s finding of fact 29 that he has not consistently taken steps to become

       clean and sober is “mostly irrelevant and not supported” because he was prescribed

       medication for ADHD and his positive drug screens for amphetamines were thus not

       indicative of substance abuse, and because his positive screens for unprescribed

       opioids and marijuana occurred more than two years before the termination hearing.

       However, as detailed above, the record evidence indicates concerns with respondent’s

       use of controlled substances, including his excessive use of prescribed medications,

       that contributed to Robert’s removal and adjudication as a neglected juvenile.

       Substance abuse was recognized as a concern from the initiation of the case and was

       addressed in respondent’s case plan. Although the evidence shows respondent

       initially participated in some treatment for medication management, the evidence

       was that he had not reported any treatment in the year preceding the termination

       hearing and was a “no-show” for the most recent requested drug screen. Finding of

       fact 29 is supported by the record evidence.
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¶ 27          Respondent also challenges finding of fact 36 that he “declined services as late

       as December 2, 2019.”4 This date corresponds with the December 2019 permanency-

       planning hearing, after which the trial court changed the primary permanent plan

       for Robert to adoption. Evidence presented at the termination hearing indicated that

       respondent was not in substance abuse treatment or participating in services for

       emotional and mental health issues in December 2019, and that he had not followed

       up with his medical issues. Respondent also did not attend DSS’s quarterly case plan

       update as he had done on prior occasions. This evidence shows respondent was not

       engaged in his case plan in December 2019; however, it does not show that respondent

       refused any specific offer of services in December 2019. To the extent the trial court

       found respondent “declined” services in December 2019, we agree with respondent

       that the finding is not supported by the evidence and thus disregard the finding. See

       In re L.H., ¶ 14.

¶ 28          Lastly, respondent challenges the portions of findings of fact 32 and 55 stating

       that “the parents have not attempted to create a bond between themselves and

       [Robert] since [Robert] came into foster care” and “[Robert] has absolutely no bond at




              4 Respondent identifies the challenged finding as finding of fact 35; however, finding

       of fact 35 concerns the mother’s choosing to decline services. Finding of fact 36 addresses
       respondent’s choosing to decline services.
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all between himself and his parents.”5 We agree with respondent that the findings

are not supported by the evidence. The evidence tended to show that DSS facilitated

visits to maintain the bond between Robert and the parents. Although concerns were

reported regarding the parents’ repeated tardiness for visits and respondent’s lack of

engagement and tendency to fall asleep during visits, the evidence was that the

parents consistently attended weekly visits in 2018 and 2019 and attended monthly

visits in January and February 2020 before in-person visitation was suspended for

several months because of the COVID-19 pandemic. Evidence was presented that the

parents attended one additional visit with Robert at DSS in June 2020 but then failed

to respond to attempts to schedule visits in July and August 2020. In addition to visits

at DSS, the social worker testified that the parents had a relationship with the foster

parents, which allowed them to have “visit[s] outside of the agency” and to participate

in telephone and video calls with Robert. The social worker was unsure how many

visits had taken place outside DSS’s supervision, but she explained that the parents

would see the foster parents and Robert when the parents attended church pre-

pandemic, and the parents would communicate with the foster parents about Robert.

The social worker testified that the parents have consistently visited with Robert



       5 Finding of fact 55 appears to be included among the findings made by the trial court

to support its best-interests determination in the dispositional stage. Thus, it is binding if
supported by competent evidence. See In re C.B., 375 N.C. 556, 560 (2020) (“We review the
trial court’s dispositional findings of fact to determine whether they are supported by
competent evidence.” (quoting In re J.J.B., 374 N.C. 787, 793 (2020))).
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       through the foster family, noting that she was aware that the parents visited with

       Robert and the foster parents the week before the termination hearing to celebrate

       Robert’s birthday. Furthermore, although there is no testimony specifically

       concerning the bond between respondent and Robert, contrary to finding of fact 55

       that there was “absolutely no bond at all between [Robert] and his parents,” the social

       worker testified a bond existed “between the child and mom.” We hold the evidence

       does not support the challenged portions of findings of fact 32 and 55. Therefore, we

       disregard those challenged portions. See In re L.H., ¶ 14.

¶ 29          Having reviewed respondent’s challenges to the trial court’s findings of fact,

       we next consider the trial court’s adjudication of grounds for termination.

          2. Neglect

¶ 30          A trial court may terminate parental rights for neglect if it concludes the

       parent has neglected the juvenile within the meaning of N.C.G.S. § 7B-101. N.C.G.S.

       § 7B-1111(a)(1). A neglected juvenile is defined, in pertinent part, as a juvenile

       “whose parent, guardian, custodian, or caretaker does not provide proper care,

       supervision, or discipline . . . or who lives in an environment injurious to the juvenile’s

       welfare.” N.C.G.S. § 7B-101(15) (2019).

                     As we have recently explained: “Termination of parental
                     rights based upon this statutory ground requires a showing
                     of neglect at the time of the termination hearing or, if the
                     child has been separated from the parent for a long period
                     of time, there must be a showing of a likelihood of future
                     neglect by the parent. When determining whether such
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                    future neglect is likely, the district court must consider
                    evidence of changed circumstances occurring between the
                    period of past neglect and the time of the termination
                    hearing.”

       In re L.H., ¶ 10 (quoting In re R.L.D., 375 N.C. 838, 841 (2020) (cleaned up)); see also

       In re Ballard, 311 N.C. 708, 715 (1984) (“[E]vidence of neglect by a parent prior to

       losing custody of a child—including an adjudication of such neglect—is admissible in

       subsequent proceedings to terminate parental rights. The trial court must also

       consider any evidence of changed conditions in light of the evidence of prior neglect

       and the probability of a repetition of neglect.”). This Court has held that “[a] parent’s

       failure to make progress in completing a case plan is indicative of a likelihood of

       future neglect.” In re M.A., 374 N.C. 865, 870 (2020) (quoting In re M.J.S.M., 257 N.C.

       App. 633, 637 (2018)).

¶ 31         Here the trial court determined in finding of fact 41 that grounds existed to

       terminate respondent’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(1) “as the

       child is a neglected juvenile and there is a probability of [sic] neglect will continue for

       the forseeable [sic] future . . . because the father has not addressed the issues that

       brought the child into care.” The trial court additionally concluded that respondent

       had neglected Robert, and that the neglect was likely to continue in the future.

¶ 32         Respondent argues that the evidence and the findings of fact do not support

       the trial court’s determination that there was a likelihood of repetition of neglect. His

       argument is largely based on his assertion that he was not responsible for Robert’s
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       removal and prior adjudication as a neglected juvenile, which we have rejected, and

       his challenges to the findings of fact.

¶ 33         The record evidence and the trial court’s findings which are supported by the

       evidence in this case establish that Robert was removed from the home and

       adjudicated neglected based on both parents’ failure to properly supervise and

       provide proper care to Robert, which was related to the parents’ abuse of controlled

       substances. DSS developed a case plan with respondent that identified matters he

       needed to address to regain custody of Robert, including issues related substance

       abuse, employment, parenting skills, mental health, housing, and medical care for

       sleep problems, and DSS offered services to respondent. However, respondent only

       partially cooperated with services and with DSS. As a result, the conditions that

       existed when Robert was removed from the home and contributed to Robert’s

       adjudication as a neglected juvenile continued to exist at the time of the termination

       hearing. We hold that the evidence and the findings that respondent failed to correct

       the issues that contributed to Robert’s prior adjudication as a neglected juvenile

       support the trial court’s determination that there was a likelihood of repetition of

       neglect. Accordingly, the trial court did not err in adjudicating neglect as a ground

       for termination of respondent’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(1).

¶ 34         Because “an adjudication of any single ground in N.C.G.S. § 7B-1111(a) is

       sufficient to support a termination of parental right,” In re E.H.P., 372 N.C. at 395                                             IN RE R.G.L.

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       (citing In re Moore, 306 N.C. at 404), we need not address respondent’s challenge to

       the trial court’s adjudication of grounds for termination pursuant to N.C.G.S. § 7B-

       1111(a)(2).

       B. Disposition

¶ 35         If the trial court determines that at least one ground exists to terminate

       parental rights under N.C.G.S. § 7B-1111(a), “the court proceeds to the dispositional

       stage, at which the court must consider whether it is in the best interests of the

       juvenile to terminate parental rights.” In re D.L.W., 368 N.C. at 842 (first citing In re

       Young, 346 N.C. 244, 247 (1997); and then citing N.C.G.S. § 7B-1110). In determining

       whether termination of parental rights is in the juvenile’s best interests,

                     the court shall consider the following criteria and make
                     written findings regarding the following that are relevant:

                         (1) The age of the juvenile.

                         (2) The likelihood of adoption of the juvenile.

                         (3) Whether the termination of parental rights will aid
                         in the accomplishment of the permanent plan for the
                         juvenile.

                         (4) The bond between the juvenile and the parent.

                         (5) The quality of the relationship between the
                         juvenile and the proposed adoptive parent, guardian,
                         custodian, or other permanent placement.

                         (6) Any relevant consideration.

       N.C.G.S. § 7B-1110(a) (2019).
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¶ 36         “The trial court’s assessment of a juvenile’s best interests at the dispositional

       stage is reviewed solely for abuse of discretion.” In re A.U.D., 373 N.C. 3, 6 (2019)

       (citing In re D.L.W. 368 N.C. at 842). “[A]buse of discretion results where the court’s

       ruling is manifestly unsupported by reason or is so arbitrary that it could not have

       been the result of a reasoned decision.” In re T.L.H., 368 N.C. 101, 107 (2015) (quoting

       State v. Hennis, 323 N.C. 279, 285 (1988)).

¶ 37         In this case, the trial court issued findings regarding each of the relevant

       criteria. The court found that at the time of the termination proceeding, Robert was

       five years old and had been in foster care for twenty-five months; that the likelihood

       of Robert’s adoption was great, as Robert’s foster parents planned to file an adoption

       proceeding as soon as he is legally free for adoption; that the permanent plan for

       Robert was adoption, and termination of parental rights was the last impediment in

       the accomplishment of the permanent plan; that any bond between Robert and

       respondent was not significant;6 that the foster parents were very involved with

       Robert, and the bond between Robert and the foster parents was very strong; and

       that the foster parents had sufficient means to care for Robert. Respondent does not

       challenge any of these findings, and these findings are thus binding on appeal. See

       In re A.K.O., 375 N.C. 698, 702 (2020) (“Dispositional findings not challenged by



             6 We do not consider the challenged portion of finding of fact 55 that there is absolutely

       no bond between Robert and the parents because we have determined that portion of the
       finding is not supported by the evidence.
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       respondents are binding on appeal.” (citing In re Z.L.W., 372 N.C. at 437)).

¶ 38         Respondent instead contends the trial court abused its discretion in making its

       best-interests determination because the court “misapprehended two key points of

       law.” Neither argument directly addresses the trial court’s written findings or its

       consideration of the findings in support of its best-interests determination.

¶ 39         Respondent first argues the trial court erred when it set adoption as a

       concurrent permanent plan for Robert in the 3 February 2020 order from the

       2 December 2019 permanency-planning hearing. Respondent directs this Court’s

       attention to the trial court’s finding in the permanency-planning review order that

       “[g]uardianship would not be an appropriate plan, as there are no identified relatives

       to fill that need,” and he argues the trial court misapprehended the law because it is

       not necessary that a guardian be a relative. See N.C.G.S. § 7B-600(b) (2019)

       (contemplating the “appointment of a relative or other suitable person as guardian”).

       Respondent contends guardianship would have been the “ideal situation” in this case.

¶ 40         Although respondent notes that there was no right of appeal from the order

       changing Robert’s permanent plan, see N.C.G.S. § 7B-1001(a1) (2019), he argues the

       issue is properly before this Court pursuant to N.C.G.S. § 1-278 because the trial

       court had to consider Robert’s permanent plan in finding that termination of parental

       rights would aid in accomplishing the permanent plan. See N.C.G.S. § 1-278 (2019)

       (“Upon an appeal from a judgment, the court may review any intermediate order
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       involving the merits and necessarily affecting the judgment.”). But the courts have

       long required a timely objection when review of an intermediate order is later sought

       pursuant to N.C.G.S. § 1-278. See Tinajero v. Balfour Beatty Infrastructure, Inc., 233

       N.C. App. 748, 757 (2014) (citing Brooks v. Wal-Mart Stores, Inc., 139 N.C. App. 637,

       641–42 (2000)). The record in this case contains no indication that respondent

       previously objected to, or contested, the trial court’s exclusion of guardianship as a

       permanent plan for Robert based on any alleged misapprehension of the law. The

       challenged finding was initially made months before the termination hearing, and

       similar findings were repeated in subsequent permanency-planning orders.

       Therefore, we do not consider respondent’s collateral attack on the permanency-

       planning order.

¶ 41         Moreover, we note that this Court has rejected arguments regarding the

       consideration of dispositional alternatives at this stage of a termination proceeding.

       See In re Z.L.W., 372 N.C. at 438 (rejecting a parent’s argument that the trial court

       should have considered dispositional alternatives, such as granting guardianship or

       custody to the foster family, in order to leave a legal avenue for the children to

       maintain a relationship with the parent). Although the trial court may consider

       alternative dispositions, see In re S.D.C., 373 N.C. 285, 290 (2020) (explaining that

       the trial court “may treat the availability of a relative placement as a ‘relevant

       consideration’ [under N.C.G.S. § 7B-1110(a)(6)] in determining whether termination
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       of a parent’s parental rights is in the child’s best interests”), it is not required to do

       so.

                    While the stated policy of the Juvenile Code is to prevent
                    the unnecessary or inappropriate separation of juveniles
                    from their parents, we note that the best interests of the
                    juvenile are of paramount consideration by the court and
                    when it is not in the juvenile’s best interest to be returned
                    home, the juvenile will be placed in a safe, permanent home
                    within a reasonable amount of time.

       In re Z.L.W., 372 N.C. at 438 (cleaned up). Accordingly, when it is clear from the

       termination order that the trial court considered the relevant dispositional criteria,

       made proper findings, and made a reasoned determination that termination of

       parental rights was in the juvenile’s best interest, as the trial court did in the instant

       case, an appellate court should not second-guess the trial court’s best-interests

       determination.

¶ 42         Lastly, respondent argues the trial court misapprehended the legal effect of

       termination of parental rights when it stated

                    Furthermore, I’m going to make a finding that this
                    termination serves a dual purpose of looking after the best
                    interest of the minor child by being in a more stable
                    environment while, at the same time, allowing him to keep
                    contact with his biological parents, which is not something
                    that we see every day.

       Because “[a]n order terminating the parental rights completely and permanently

       terminates all rights and obligations of the parent to the juvenile and of the juvenile

       to the parent arising from the parental relationship,” N.C.G.S. § 7B-1112 (2019),
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       respondent contends the court’s statement amounts to a misapprehension of the law

       and an abuse of discretion in the best-interests determination.

¶ 43         Despite the trial court’s statement at the termination hearing, the court made

       no such finding in the termination order. As detailed above, the trial court made

       findings on the relevant criteria in N.C.G.S. § 7B-1110(a) in support of its

       determination that termination of parental rights was in Robert’s best interests.

       Additionally, we do not believe the court’s statement amounts to a misapprehension

       of the law. There was no indication that the trial court misunderstood the legal effect

       of termination of parental rights. The court’s statement instead specifically

       acknowledges the unique circumstances in this case, in which the foster father, who

       was also the prospective adoptive father, testified to the family’s openness to

       facilitating an ongoing connection between Robert and his biological parents, unless

       it was unsafe to do so. We understand the court’s statement to be that termination of

       parental rights was in Robert’s best interests, but that termination in this case did

       not necessarily foreclose the possibility that Robert would keep in contact with his

       biological parents given the foster parents’ values. Accordingly, we reject

       respondent’s argument that the trial court misapprehended the legal effect of

       terminating his parental rights.

¶ 44         A review of the termination order shows that the trial court considered the

       relevant dispositional criteria in N.C.G.S. § 7B-1110(a) and made a reasoned
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       determination based on those criteria that termination of respondent’s parental

       rights in Robert was in Robert’s best interests. Because the trial court did not abuse

       its discretion, we uphold the trial court’s best-interests determination.

                                      III.    Conclusion

¶ 45         The trial court did not err in adjudicating neglect as a ground for termination

       pursuant to N.C.G.S. § 7B-1111(a)(1) and did not abuse its discretion in determining

       that termination of respondent’s parental rights was in Robert’s best interests.

       Therefore, we affirm the trial court’s termination order.

             AFFIRMED.
